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10    Attorneys for Plaintiff AMY CASEY individually and all others similarly situated
11                              UNITED STATES DISTRICT COURT
12                          CENTRAL DISTRICT OF CALIFORNIA
13    BRIAN ROGERS, an individual, and          Case No.: 5:14-cv-02069-JGB-SP
      AMY CASEY, an individual, on behalf
14    of themselves, and on behalf of all       CLASS ACTION
      employees similarly situated,
15                                              Assigned for All Purposes To:
16                Plaintiffs,                   Judge: Jesus G. Bernal

17          vs.                                 DECLARATION OF ALVN B.
                                                LINDSAY IN SUPPORT OF
18    THD AT-HOME SERVICES, INC. dba            PLAINTIFF’S MOTION FOR CLASS
      HOME DEPOT, a Delaware                    CERTIFICATION
19    Corporation; US REMODELERS dba
      HOME DEPOT INTERIORS, a
20    Delaware Corporation; US HOME             [Filed concurrently with Notice of Motion,
      SYSTEMS. INC., an unknown                 Memorandum, Plaintiffs’ Declarations;
21    corporation, and DOES 1 through 100,      Declarations of Putative Class Members;
      inclusive,                                Declaration of Richard E. Quintilone, II;
22
                                                [Proposed] Order]
23                 Defendants.
24                                              Date:      June 13, 2016
                                                Time:      9:00 a.m.
25                                              Courtroom: 1
26                                              Complaint Filed: July 14, 2014
                                                Removed: October 6, 2014
27                                              Amended Complaint: January 29, 2015
28

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           DECLARATION OF ALVIN B. LINDSAY IN SUPPORT OF PLAINTIFF’S MOTION
                              FOR CLASS CERTIFICATION
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1                           DECLARATION OF ALVIN B. LINDSAY
2           I, Alvin B. Lindsay, declare as follows:
3           1.     I am an attorney duly licensed to practice law in the State of California
4     and am a senior attorney with Quintilone & Associates, counsel for Plaintiffs and the
5     Class in this matter. I make this Declaration based on my own personal knowledge. I
6     have participated in this case starting at this firm in January of 2015, and if called to
7
      testify, I could and would testify truthfully to the matters set forth in this Declaration.
8
            2.     I submit this Declaration in support of the Motion for Class Certification
9
      filed by Plaintiff Amy Casey on behalf of herself and all others similarly situated,
10
      against Defendants. I have been involved in all aspects of this litigation and in the day
11
      to day progress of the action since I joined Quintilone & Associate in January of 2015,
12
      including all meet and confer efforts with Defendant’s counsel and all discovery and
13
      motion and hearing practice.
14
15          3.     Rule 23(g) – Class Counsel - Background and Experience. As an

16    attorney duly licensed and admitted to practice before the state and federal courts in

17    California, I have litigated complex civil actions for fourteen years, focusing on
18    intellectual property litigation and employment wage and hour class actions. I have the
19    requisite knowledge of class proceedings, applicable class action and employment law,
20    and federal court procedures, to represent Plaintiff and the class members in the action.
21    For the past five years, I have primarily focused my practice on litigating complex
22    California wage and hour class actions, first with the firm of James Hawkins, APLC
23    and now with Quintilone & Associates. In the course of representing class plaintiffs, I
24    have litigated and settled multiple class actions in the Central District.
25          4.     I graduated from Whittier Law School, and have been practicing in
26
      California for the past 14 years.       During my second year in law school, I began
27
      clerking full time for the well-respected intellectual property boutique firm, Fulwider
28
      Patton in Los Angeles, California. When I graduated, I became an attorney with the
                                          -2-
            DECLARATION OF ALVIN B. LINDSAY IN SUPPORT OF PLAINTIFF’S MOTION
                               FOR CLASS CERTIFICATION
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1     firm and served there for 5 years, and was active in the Inns of Court.       My practice
2     focused on intellectual property prosecution and litigation, and I spent the majority of
3     my time representing clients in patent infringement litigation.        I also served in a
4     similar capacity for the San Francisco firm, King & Kelleher, for three years, and
5     appeared predominantly in the Central and Northern District of California Courts
6     prosecuting and defending patent infringement actions.
7
            5.     Prior to attending law school, I graduated from the United States Military
8
      Academy at West Point. I then served as an Army Officer for 10 years in the Corps of
9
      Engineers, in various stateside and overseas postings. I am a veteran of Operation
10
      Desert Shield/Desert Storm.
11
            6.     Since 2010, I have been the senior attorney responsible for the day to day
12
      litigation of well over 50 wage and hour class actions on behalf of employee class
13
      members. I have had numerous contested class action cases certified, and have secured
14
15    settlements for many millions of dollars for our clients. I am experienced and qualified

16    to evaluate the class claims, to evaluate settlement versus trial on a fully informed basis

17    and to evaluate the viability of the defenses. I enjoy being an attorney, and especially
18    being a complex civil litigator focusing on class action proceedings. I value the fact
19    that what we do is a profession, and I value professional relationships I have developed
20    with my fellow plaintiffs’ counsel and the attorneys from the well-respected corporate
21    civil defense firms we litigate against on a daily basis.
22          7.    The following are examples of some of my cases which have resulted in
23    favorable settlements for the employee class members I have represented:
24                a.      Batres v. HMS Host USA, Inc. et al., CD Cal Case No. SACV 10-
25                        01458 CJC (AJWx) (Hon. Cormac J. Carney);
26
                  b.      Barrera v Sodexo, Inc., CD Cal Case No. SACV 13-0817 AG
27
                          (MANx) (Hon. Andrew J. Guilford);
28

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            DECLARATION OF ALVIN B. LINDSAY IN SUPPORT OF PLAINTIFF’S MOTION
                               FOR CLASS CERTIFICATION
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1                c.     Mojica v Compass Group, et al., CD Cal Case No. 8:13-cv-01754
2                       DSF (AGR) (Hon. Dale S. Fischer):
3                d.     Aguilar v 7-Eleven, Orange County Superior Court, Case No. 30-
4                       2009-00268714-CU-OE-CXC (Hon. Kim G. Dunning);
5                e.     Pedro M. Guerrero v. E-Recycling of California, Orange County
6                       Superior Court Case No. 30-2012-00552453-CU-OE-CXC (Hon.
7
                        Gail A. Andler);
8
                 f.     Virginia Rodriguez v Exel Inc., San Bernardino County Superior
9
                        Court, Case No. CIVDS 1104594 (Hon. Bryan F. Foster);
10
                 g.     Palacios v LKQ Lakenor Auto & Truck Salvage, Inc., et al., Orange
11
                        County Superior Court, Case No. 30-2012-00552979-CU-OE-CXC
12
                        (Hon. Steven L. Perk);
13
                 h.     Ayala et al. v Park Anaheim Health Care, LLC, Orange County
14
15                      Superior Court, Case No. 30-2013-00649442-CU-OE-CXC (Hon.

16                      Gail A. Andler);

17               i.     Daniel v Xerxes Corporation, Orange County Superior Court, Case
18                      No. 30-2010-00418048-CU-OE-CXC (Hon. Gail A. Andler);
19               j.     Magana v HVM L.L.C. et al., Orange County Superior Court Case
20                      No. 30-2011-00468712-CU-OE-CXC (Hon. Gail A. Andler);
21               k.     Vo v Express Manufacturing, Inc., Orange County Case No. 30-
22                      2012-00552641-CU-OE-CXC (Hon. Gail A. Andler); and
23               l.     Yac v Paper Source Converting & Manufacturing, Los Angeles
24                      Superior Court, Case No. BC 472113 (Hon. Michael L. Stern).
25               m.     Bui v Sprint Corporation, ED Cal Case No. Case No. 2:14-CV-
26
                        02461-TLN-AC (Hon. Troy L. Nunley)
27
                 n.     Munoz v Stine CC Inc., (Hon. Lorna H. Brumfield), Kern County
28
                        Superior Court, S-1500-CV-283104-LHB.
                                         -4-
           DECLARATION OF ALVIN B. LINDSAY IN SUPPORT OF PLAINTIFF’S MOTION
                              FOR CLASS CERTIFICATION
     Case 5:14-cv-02069-JGB-SP Document 51 Filed 04/26/16 Page 5 of 7 Page ID #:1821




1           8.     The above matters are not exhaustive, but provide samples of the types of
2     class action litigations I have successfully resolved.      Quintilone & Associates is
3     presently prosecuting approximately 15 class action litigations in state and federal
4     courts across California, including multiple other cases in the Central District. We also
5     have several actions that are in the stages of preliminary and final approval.
6           9.     My participation in wage and hour class action litigations in California
7
      has included extensive preparation, development of a thorough knowledge of the legal
8
      issues related to certification and liability, and full immersion and participation in the
9
      mediation and negotiation process. I am therefore experienced in the type of class
10
      action litigation involving violations of California's wage and hour laws which are the
11
      subject of this action.
12
            10.    As a result of my prior experience as Class Counsel in other wage and
13
      hour class actions, I am fully aware of the responsibilities I would owe as Counsel to
14
15    the proposed Class in this action. I have thoroughly investigated the Class claims

16    asserted in this action, and I am prepared to commit the resources necessary to

17    represent the proposed Class and vigorously pursue their claims. Finally, I am not
18    aware of any conflict of interest between myself and Plaintiff or any other Class
19    Member that would interfere with my duties as Class Counsel or impede my
20    representation of the proposed Class.
21          I declare under penalty of perjury under the laws of the United States and the
22    State of California that the foregoing is true and correct and that this Declaration was
23    executed at Lake Forest, California on April 26, 2016.
24
25
26
                                              _________________________________
27                                                     ALVIN B. LINDSAY
            .
28

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            DECLARATION OF ALVIN B. LINDSAY IN SUPPORT OF PLAINTIFF’S MOTION
                               FOR CLASS CERTIFICATION
     Case 5:14-cv-02069-JGB-SP Document 51 Filed 04/26/16 Page 6 of 7 Page ID #:1822



                                                       PROOF OF SERVICE
 1
         I, the undersigned, declare as follows:
 2
 3       I am a citizen of the United States, over the age of 18 years, and not a party to the within action. I am an
         employee of or agent for Quintilone & Associates, whose business address is 22974 El Toro Rd., Suite 100,
 4       Lake Forest, CA 92630-4961.

         On April 26, 2016, I served the foregoing document(s):
 5
        DECLARATION OF ALVIN B. LINDSAY IN SUPPORT OF PLAINTIFFS’ MOTION FOR
 6                              CLASS CERTIFICATION
         on the following parties in this action addressed as follows:
 7
 8                                         SEE ATTACHED SERVICE LIST

 9       _______      (BY MAIL) I caused a true copy of each document, placed in a sealed envelope with postage fully
                      paid, to be placed in the United States mail at Lake Forest, California. I am "readily familiar"
10                    with this firm's business practice for collection and processing of mail, that in the ordinary course
                      of business said document(s) would be deposited with the U.S. Postal Service on that same day. I
11                    understand that the service shall be presumed invalid if the postal cancellation date or postage
                      meter date on the envelope is more than one day after the date of deposit for mailing contained on
12                    this affidavit.
         _______      (BY PERSONAL SERVICE) I delivered each such document by hand to each addressee above.
13
         _______      (BY OVERNIGHT DELIVERY) I caused a true copy of each document, placed in a sealed
14                    envelope with delivery fees provided for, to be deposited in a box regularly maintained by Federal
                      Express or Overnight Express. I am readily familiar with this firm's practice for collection and
15                    processing of documents for overnight delivery and know that in the ordinary course of
                      Quintilone & Associates’ business practice the document(s) described above will be deposited in a
16                    box or other facility regularly maintained by Federal Express or Overnight Express or delivered to
                      a courier or driver authorized by Federal Express or Overnight Express to receive documents on
17                    the same date it is placed at Quintilone & Associates for collection.

18       _______      (BY FACSIMILE) By use of facsimile machine number 949.458.9679, I served a copy of the
                      within document(s) on the above interested parties at the facsimile numbers listed above. The
19                    transmission was reported as complete and without error. The transmission report was properly
                      issued by the transmitting facsimile machine.
20       ___X__       (BY E-MAIL) I caused a true and correct copy of each document to be delivered by Electronic
                      Mail through the Court’s ECF System.
21
22       Executed on April 26, 2016 at Lake Forest, California.

23       ___X____     (FEDERAL) I declare that I am employed in the office of a member of the bar of this court at
                      whose direction the service was made.
24
         _______       (STATE) I declare under penalty of perjury under the laws of the State of California that the
25       above is true and correct.

26
27                                                            ________________________
                                                                 ALVIN B. LINDSAY
28

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                                                        PROOF OF SERVICE
     Case 5:14-cv-02069-JGB-SP Document 51 Filed 04/26/16 Page 7 of 7 Page ID #:1823



                                             SERVICE LIST
 1
 2
        Joel Cohn, Esq.                       Attorneys for Defendants
 3      Donna M. Mezias Esq.                  .
        Ashley Keapproth, Esq.
 4      Liz K. Bertko Esq.
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        Daren H. Lipinski Esq.                Co-Counsel for Plaintiffs and Class
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        Email dlipinsky@aol.com
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18     Q&A Case No.: 14.01174

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                                             PROOF OF SERVICE
